UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
In re:                                                         ) Chapter 11
                                                               )
THE ROMAN CATHOLIC DIOCESE OF                                  ) Case No. 20-12345 (MG)
ROCKVILLE CENTRE, NEW YORK,                                    )
                                                               )
                                   Debtor. 1                   )
                                                               )

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                       )
                                              )
    COUNTY OF LOS ANGELES                     )


         I, Mary de Leon, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is 10100 Santa

Monica Blvd., Suite 1300, Los Angeles, CA 90067.

         On May 2, 2023, I caused a true and correct copy of the following documents to be served

via the Court’s ECF system.

         On May 2, 2023, I also caused a true and correct copy of the following documents to be

served via electronic mail upon the parties set forth on the service list annexed hereto as

Exhibit A:

         On May 2, 2023, I caused a true and correct copy of the following documents to be served

via First Class US Mail upon the parties as follows: The Roman Catholic Diocese of Rockville

Centre, Attn: Thomas Renker, Esq., 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-

9023.


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last for digits
of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box 9023,
Rockville Centre, NY 11571-9023.


DOCS_LA:348820.2 18491/002
   TWENTY-SEVENTH MONTHLY FEE STATEMENT OF PACHULSKI STANG
    ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES RENDERED AND
    DISBURSEMENTS INCURRED AS COUNSEL TO THE OFFICIAL COMMITTEE
    OF UNSECURED CREDITORS FOR THE PERIOD FROM MARCH 1, 2023
    THROUGH MARCH 31, 2023

        I declare under penalty of perjury, under the laws of the State of California and the United

States of America that the foregoing is true and correct.


Dated this 2nd day of May, 2023.



                                                      /s/ Mary de Leon
                                                      Mary de Leon




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                                     EXHIBIT A
Service by Email

        NAME                  NOTICE NAME               ADDRESS
 JONES DAY                   CORINNE BALL,   CBALL@JONESDAY.COM;
                             BENJAMIN        BROSENBLUM@JONESDAY.COM;
                             ROSENBLUM,      ABUTLER@JONESDAY.COM;
                             ANDREW M.
                             BUTLER
 OFFICE OF THE               GREG ZIPES      GREG.ZIPES@USDOJ.GOV;
 UNITED STATES               SHARA CORNELL   SHARA.CORNELL@USDOJ.GOV
 TRUSTEE




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